                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE

  LEWIS COSBY,                                    )
  KENNETH R. MARTIN,                              )
  as beneficiary of the                           )
  Kenneth Ray Martin Roth IRA, and                )
  MARTIN WEAKLEY, on behalf of                    )
  themselves and all others similarly situated,   )
                                                  )
                Plaintiffs,                       )
                                                  )
  v.                                              )   No.: 3:16-CV-121-TAV-DCP
                                                  )
  KPMG, LLP,                                      )
                                                  )
                Defendant.                        )


                              AMENDED SCHEDULING ORDER

         On February 12, 2018, the Court stayed this action pursuant to the statutory
  requirements of the Private Securities Litigation Reform Act (“PSLRA”) pending the
  Court’s ruling on defendant’s motion to dismiss [Doc. 75]. The Court granted in part and
  denied in part defendant’s motion to dismiss [Doc. 76]. The parties then filed their Civil
  Case Management Plan [Doc. 77] with certain proposed deadlines, some of which the
  Court may have changed. The designation of the parties in either the plural or singular
  shall be applied to mean either number, and where appropriate in the context hereof, shall
  mean any one or more of said parties. Any inquiries concerning the trial date should be
  directed to the Court’s chambers, by contacting the Court’s judicial assistant, Ms. Lori
  Gibson at (865) 545-4762 or at varlan_chambers@tned.uscourts.gov, within seven (7)
  days of receipt of this order; otherwise, a motion for continuance must be filed. The
  schedule will not change except for good cause.

         Accordingly, for good cause shown, the stay of proceedings previously entered in
  this case is LIFTED, and the Court hereby ENTERS the following Amended Scheduling
  Order which shall supersede all previous orders.

         1.     Electronic Filing:

                a)     The Court has implemented Electronic Case Filing, which allows
                       counsel to file and docket pleadings directly from their office via the
                       internet and to be served with filings from other parties and the Court



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                    via email. Information on the ECF system is available on the
                    Court’s website: www.tned.uscourts.gov. Counsel who are not
                    already registered users are directed to register as soon as possible or
                    be prepared to explain their failure to do so. See E.D.TN LR 5.2(b).

              b)    Unless the Court instructs otherwise, courtesy hard copies shall not
                    be mailed or hand-delivered to chambers. To the extent the Court
                    requests a courtesy hard copy, such copy should be printed out after
                    being electronically filed so that the copy contains the “ECF
                    Header/Footer” reflecting the filing information, i.e. case number,
                    document number, filed date, and Page ID number.

              c)    Parties filing pleadings either electronically or manually on the
                    day of a hearing or trial should notify chambers and/or the
                    courtroom deputy either by e-mail or phone of the late filing.

        2.    Disclosure and Discovery:

              a)    Fed. R. Civ. P. 26(f) Meeting: The parties have held their discovery
                    planning meeting as required by Fed. R. Civ. P. Rule 26(f).

              b)    Discovery Plan: The parties have filed their Civil Case Management Plan
                    [Doc. 77] .

                    i)     Fact Discovery
                           (1)   All fact discovery shall be completed no later than
                                 April 1, 2019.

                           (2)    Requests for production of documents may be served
                                  beginning on August 31, 2018.

                           (3)    Document production shall be on a rolling basis, with
                                  substantial completion by December 31, 2018, in all
                                  events no later than February 28, 2019.

              c)    Initial Disclosures: The parties have already made all disclosures
                    required by Rule 26(a)(1).

              d)    E-Discovery: The parties will confer in good faith prior to
                    commencement of their document productions regarding appropriate
                    technical specifications for their respective productions, including
                    but not limited to the format or formats in which ESI will be
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                    produced and the extent to which appropriate fields of metadata
                    and/or native files will be produced. The parties anticipate that most
                    ESI will be produced in the form of TIFF images with an
                    accompanying database load file containing appropriate categories
                    of metadata and extracted text, where available, associated with each
                    document.

              e)    Class Certification:

                    i)     The parties will confer in good faith to schedule depositions
                           of the plaintiffs by December 31, 2018.

                    ii)    Plaintiffs’ motion for class certification shall be filed by
                           January 31, 2019.

                    iii)   Defendant’s opposition to plaintiffs’ motion for class
                           certification shall be filed no later than 45 days after plaintiffs
                           file their motion for class certification.

                    iv)    Plaintiffs’ reply in support of class certification shall be filed
                           no later than 30 days after defendant files its opposition to
                           plaintiffs’ motion for class certification.

                    v)     Plaintiffs will serve the report of any expert offered in support
                           of their motion for class certification concurrently with the
                           filing of their motion for class certification. Defendant may
                           depose and/or seek discovery from any expert offered in
                           support of plaintiffs’ motion for class certification at any time
                           prior to the deadline for defendant to file its opposition to
                           plaintiffs’ motion for class certification.

                    vi)    Plaintiffs will ensure that any expert who submits a report in
                           support of plaintiffs’ motion for class certification will be
                           available for deposition at a mutually agreeable date at least
                           14 days prior to the deadline for defendant to oppose
                           plaintiffs’ motion for class certification.

                    vii)   Defendant will serve the report of any expert offered in
                           opposition to plaintiffs’ motion for class certification
                           concurrently with the filing of its opposition to plaintiffs’
                           motion for class certification. Plaintiffs may depose and/or
                           seek discovery from any expert offered in opposition to
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                            plaintiffs’ motion for class certification at any time prior to
                            the deadline for plaintiffs to file their reply.

                    viii)   Defendant will ensure that any expert who submits a report in
                            opposition to plaintiffs’ motion for class certification will be
                            available for a deposition at a mutually agreeable date at least
                            14 days prior to the deadline for plaintiffs to file their reply in
                            further support of class certification.

              b)    Expert Testimony:

                    i)      Plaintiffs must identify any expert who may testify and the
                            subject matters upon which the expert is expected to testify 30
                            days before submitting expert reports. Plaintiffs’ expert
                            reports pursuant to Fed. R. Civ. P. 26(a)(2) shall be submitted
                            30 days after the close of fact discovery. Defendant may
                            depose and/or seek discovery from any expert offered by the
                            plaintiffs at any time prior to the deadline for defendant to
                            submit rebuttal expert reports. Plaintiffs will ensure that any
                            expert who submits a report will be available for deposition at
                            a mutually agreeable date at least 14 days prior to the
                            deadline for defendant to submit a rebuttal expert report.

                    ii)     Defendant’s rebuttal expert reports shall be submitted 30 days
                            after plaintiffs’ expert reports.

                    iii)    Plaintiffs’ reply expert reports shall be submitted 20 days
                            after defendant’s rebuttal expert reports. Plaintiffs may
                            depose and/or seek discovery from any expert offered by the
                            defendant at any time prior to the deadline for plaintiffs to
                            submit reply reports. Defendant will ensure that any expert
                            who submits a report will be available for deposition at a
                            mutually agreeable date at least 10 days prior to the deadline
                            for plaintiff to submit a reply report.

                    iv)     All expert discovery, including expert depositions, shall be
                            completed 90 days after the close of fact discovery.

                    v)      In the event that either party wishes to challenge the relevance
                            or the reliability of expert testimony, a motion for a Daubert
                            hearing must be filed not later than ninety (90) days before
                            trial or they will be deemed waived.
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              c)    Evidence-Presentation Equipment: If one or more of the parties
                    desire to use the Court’s Digital Evidence Presentation System
                    (DEPS) at trial or for any pretrial hearing, or if any party intends
                    to use any other electronic, mechanical, or other equipment to
                    display evidence at trial, notice must be given to the Court’s
                    courtroom deputy clerk, Ms. Julie Norwood (865) 545-4234,
                    Ext. 2285, or at julie_norwood@tned.uscourts.gov at least five (5)
                    working days before the pretrial conference (for trial) or before any
                    pretrial hearing.

              d)    Pretrial Disclosures: On or before thirty (30) days before trial, the
                    parties shall make all pretrial disclosures specified in Fed. R. Civ. P.
                    26(a)(3), except as to witnesses (see 6(f) below).

              e)    All Discovery: All discovery, including the taking of depositions
                    “for evidence,” shall be completed by ninety (90) days before trial.
                    (Motions to compel must be filed at least thirty (30) days before this
                    deadline).

              f)    Depositions: Depositions shall be conducted in accordance with
                    the following guidelines and other orders entered by the Court:

                    i)     Counsel shall not direct or request that a witness not
                           answer a question, unless that counsel has objected to the
                           question on the ground that the answer is protected by a
                           privilege or a limitation on evidence directed by the Court.

                    ii)    Counsel shall not make objections or statements that might
                           suggest an answer to a witness. Counsels’ statements when
                           making objections should be succinct, stating the basis of
                           the objection and nothing more.

                    iii)   Counsel and their witness-clients shall not engage in private,
                           off-the-record conferences while the deposition is
                           proceeding in session, except for the purpose of deciding
                           whether to assert a privilege. Counsel may confer with their
                           clients during midmorning, lunch, mid-afternoon, or
                           overnight breaks in the deposition. However, counsel for a
                           deponent may not request such a break while a question is
                           pending or while there continues a line of questioning that
                           may be completed within a reasonable time preceding such
                           scheduled breaks.
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                      iv)   Deposing counsel shall provide to the witness’s counsel a copy
                            of all documents shown to the witness during the deposition.
                            The copies shall be provided either before the deposition
                            begins or contemporaneously with the showing of each
                            document to the witness. The witness and the witness’s
                            counsel do not have the right to discuss documents privately
                            before the witness answers questions about them.

               g)     Discovery Disputes: Discovery disputes shall be resolved in the
                      following manner:
                             i)   Parties shall first meet and/or confer in an attempt to
                                  resolve disputes between themselves, without judicial
                                  intervention;

                            ii)    If the parties are unable to resolve such disputes
                                   informally, they shall attempt to resolve their
                                   disagreement by conference with the Magistrate Judge
                                   assigned to this case, which conference shall be by
                                   telephone or in court, at the discretion of the Magistrate
                                   Judge, who also shall have the discretion to make
                                   findings and enter an order on the dispute; and

                            iii)   If, and only if, the parties’ dispute is unresolved
                                   following the conference with the Magistrate Judge, the
                                   parties may file appropriate written motions with the
                                   Court, which may be referred to the Magistrate Judge.
                                   Any written motions regarding discovery shall
                                   include a certification of compliance with steps one (1)
                                   and two (2) above as well as the written certification
                                   required by Rule 37(a)(1), if applicable.

        2.      Status Report: The parties shall jointly file on the day of the discovery
  deadline a status report covering the following matters:

               a)     Whether discovery has been completed;

               b)     If any dispositive motions are pending, whether oral argument
                      would be beneficial to the Court and/or the parties, and, if so,
                      explain the benefit;




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                c)     Whether any party intends to file any further pretrial motions,
                       including any motions in limine, and if so, the anticipated subject
                       matter of such motions;

                d)     Whether the case is to be tried jury or non-jury and the anticipated
                       length of trial;

                e)     The prospects for settlement of this matter, and whether the case has
                       been or will be submitted for mediation pursuant to Local Rule 16.4;
                       and

                f)     Any other matter which you believe should be brought to the
                       Court’s attention.

         3.    Pretrial Order: Unless counsel are otherwise directed by the Court, the
  following shall govern with regard to the pretrial order in this particular case.

         Thirty (30) days before trial, an agreed pretrial order shall be filed. The order shall
  contain the following recitals:

                a)     Jurisdiction.

                b)     That the pleadings are amended to conform to the pretrial order.

                c)     Short summary of plaintiffs’ theory.

                d)     Short summary of defendant’s theory.

                e)     The issues to be submitted to the trial judge or jury.

                f)     Stipulations of fact.

                g)     Novel or unusual questions of law or evidence.

                h)     Estimated length of trial (in working days).

                i)     Possibility of settlement.

                j)     Miscellaneous matters that may contribute to the just, speedy, and
                       inexpensive determination of the case.


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          Forty-five (45) days before trial (47 days if service by mail), plaintiffs’ counsel shall
  serve opposing counsel with a proposed pretrial order containing the above items except
  for the theory of defendant. Within five (5) working days after receipt thereof,
  opposing counsel shall furnish plaintiffs’ counsel with defendant’s theory and advise of
  any disagreement as to the issues or other matters in the proposed pretrial order. The parties
  shall make diligent, good faith efforts to reconcile any differences promptly and without the
  necessity of the Court’s intercession. If the parties cannot agree on a pretrial order,
  plaintiffs’ counsel shall notify the undersigned’s office at least thirty-one (31) days before
  trial that the parties have, in a face-to-face conference, been unsuccessful, after a good
  faith effort, to agree upon a pretrial order. Thereafter, the undersigned may enter a
  pretrial order prior to or after the pretrial conference. Proposed amendments to a pretrial
  order entered ex parte by a judge or magistrate judge may be sought by motion filed five
  (5) days following entry of the order.

         The Clerk may provide counsel with a jury list containing names and personal
  information concerning prospective petit jurors (hereafter “the jury list”). Counsel
  and any other person provided with the jury list may not share the jury list or information
  therein except as necessary for purposes of jury selection. Following jury selection,
  counsel and any other person provided the jury list must return to the clerk the jury list and
  any copies made from the jury list or destroy them.

        Failure to file an agreed pretrial order or to notify the undersigned’s office that one
  cannot be agreed upon as required herein may be deemed a failure to prosecute the action.
  See Rule 41(b), Fed. R. Civ. P.

         4.     Other Scheduling Matters:

                a)      Amendment of Pleadings/Joinder of Parties: At least one
                        hundred and fifty (150) days before trial all motions for leave to
                        amend the pleadings and add parties must be filed.

                b)      Dispositive Motions: All dispositive motions under Fed. R. Civ. P.
                        12 and all motions for summary judgment pursuant to Fed. R. Civ.
                        P. 56 shall be filed as soon as possible, but no later than one
                        hundred fifty (150) days before trial. The failure to timely file
                        such motions will be grounds to summarily deny them.

                c)      Mediation in Employment Discrimination Cases: In every case
                        involving employment discrimination, the parties shall jointly file a
                        report indicating their respective positions regarding whether the
                        dispute is a matter suitable for mediation, as defined by Local Rule
                        16.4, one hundred fifty (150) days before trial.
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              d)    Motions in Limine: All motions in limine must be filed no later than
                    thirty (30) days before trial. Such motions in limine will be addressed
                    by the Court at the final pretrial conference (see No. 7 below),
                    unless the parties are notified otherwise by the Court.

              e)    Special Requests to Instruct for Jury Trial: Pursuant to Local
                    Rule 51.1, special requests for jury instructions shall be submitted to
                    the Court no later than thirty (30) days before trial and shall be
                    supported by citations of authority pursuant to Local Rule 7.4.
                    There is reserved to counsel for the respective parties the right to
                    submit supplemental requests for instructions during the course of
                    the trial or at the conclusion of trial upon matters that cannot be
                    reasonably anticipated.

              f)    Exhibits: All anticipated exhibits will be labeled and numbered
                    prior to trial. At the inception of trial, counsel will furnish the Court
                    with the original and one (1) copy of their exhibits. The parties are
                    directed to confer prior to the final pretrial conference as to the
                    authenticity and admissibility of exhibits and be prepared to discuss
                    any objections at the pretrial conference.

              g)    Witness Lists: Forty-five (45) days before trial, the parties shall file
                    a final witness list covering the information specified in Rule
                    26(a)(3). Within five (5) days after service of a final witness list,
                    such list may be supplemented.

              h)    Trial Briefs: At least fifteen (15) days before trial, the parties must
                    file trial briefs concerning any novel or unusual questions of law
                    that have been highlighted in the pretrial order.

              i)    Use of Depositions at Trial: In the event that a party files an
                    objection within the time specified by Rule 26(a) to the use under
                    Rule 32(a) of a deposition designated by another party under
                    subparagraph (B) of Rule 26(a)(3), or any objection, together with
                    the grounds therefor, that may be made to the admissibility of
                    materials identified under subparagraph (C) of Rule 26(a)(3), and
                    desires the Court to consider such objection or objections to be in the
                    nature of a motion in limine, such objections shall be accompanied
                    by a brief in support of such objection/motion in limine. Should
                    a hearing be directed by the Court regarding such motions in limine,
                    the parties shall be notified of the date and time thereof.
                    Counsel are reminded that objections not so disclosed, other than
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                        objections under Rules 402 and 403, Federal Rules of Evidence,
                        shall be deemed waived unless excused by the Court for good cause
                        shown.

          5.    Final Pretrial Conference: A final pretrial conference will be held in
   Knoxville on Monday, June 17, 2019, at 3:30 p.m.

          6.     Trial: The trial of this case will be held in Knoxville before the undersigned
   with a jury beginning on Monday, June 24, 2019, at 9:00 a.m.

          If there are any preliminary matters, counsel shall be present at 8:30 a.m. to take up
   any such matters which may require the Court’s attention. The parties shall be prepared
   to commence trial at 9:00 a.m. on the date which has been assigned. If this case is not
   heard immediately, it will be held in line until the following day or anytime during the
   week of the scheduled trial date.

          7.     Consent to Magistrate Judge: You are reminded that United States
   magistrate judges in this District have authority to try civil cases, both jury and nonjury,
   upon consent of the parties pursuant to 28 U.S.C. § 636(c). If you desire to have your
   case tried by consent by a magistrate judge, notify the Court’s judicial assistant, Ms.
   Lori Gibson at (865) 545-4762, or at varlan_chambers@tned.uscourts.gov.

   SHOULD THE SCHEDULED TRIAL DATE CHANGE FOR ANY REASON, THE
   OTHER DATES CONTAINED IN THIS ORDER SHALL REMAIN AS SCHEDULED.
   SHOULD THE PARTIES DESIRE A CHANGE IN ANY OF THE OTHER DATES,
   THEY SHOULD NOTIFY THE COURT AND SEEK AN ORDER CHANGING
   THOSE DATES.

          IT IS SO ORDERED.


                                      s/ Thomas A. Varlan
                                      CHIEF UNITED STATES DISTRICT JUDGE




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